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         Exhibit 1 – Index of Exhibits Listed in SEC’s Trial Brief, Omnibus
Motion in Limine, Daubert as to Ronald Quintero, and Direct Testimony Declarations

 ECF Ex. No.          PX No.                       Description
 to Doc. 102
      2.              PX 1A       Letter From Daniel Zelenko To Rashid Re:
                                  Retention Of Crowell & Moring LLP

       3.              PX 2       Email Thread From Daniel Zelenko To Roberto
                                  Finzi And Others Re: Contact Information

       4.              PX 4       Apollo Global Management Travel & Expense
                                  Reimbursement Policies And Procedures In
                                  Effect June 2013

       5.              PX 5       Email Thread From Susan R. Maisel To Sipoura
                                  Barzideh And Others Re: Ali Rashid And Dc
                                  Circuit Case

       6.              PX 7       Email Thread From Susan R. Maisel To Sipoura
                                  Barzideh And Others Re: Draft Of
                                  Confidentiality Letter

       7.              PX 8       Letter From Daniel Zelenko To Donna Norman
                                  Re: Certain Apollo Investment Management
                                  Procedures

       8.              PX 9       Email Thread From Susan R. Maisel To Sipoura
                                  Barzideh And Others With Attached Rashid
                                  Expense Spreadsheet

       9.             PX 12       Email Thread From Daniel Zelenko To Roberto
                                  Finzi And Others Re A Scheduled Call

       10.            PX 15       Email From Namrata Kotwani To Susan Maisel
                                  And Other Re: Draft Spreadsheets Showing
                                  Expenses Classified By Trip And Expenses
                                  (Revised)

       11.            PX 16       Email Thread From Sipoura Barzideh To
                                  Namrata Kotwani With Amended Spreadsheet
                                  Listing Missing Items Identified By Rashid




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ECF Ex. No.      PX No.                      Description
to Doc. 102
     12.          PX 19     Email Thread From Glen Mcgorty To Sipoura
                            Barzideh And Others With Attached Spreadsheet
                            Showing Modifications And Edits Of Expense
                            Review

     13.          PX 21     Email Thread From Glen Mcgorty To Sipoura
                            Barzideh And Others Providing Partial Answers
                            To The Request For More Information

     14.          PX 22     Email Thread From Sipoura Barzideh To Glen
                            McGorty And Others Re: Common Interest
                            Privilege/No Joint Defense Agreement

     15.          PX 24     Master Spreadsheet With Individual Expenses

     16.          PX 25     Email From Namrata Kotwani To Sipoura
                            Barzideh And Others With Spreadsheet Re: Draft
                            Classifications Pertaining To T&Es Not
                            Submitted For Reimbursement

     17.          PX 26     Email From Roberto Finzi To Daniel Zelenko
                            And Others Re: Paul Weiss To Provide Certain
                            Materials For Rashid's Separation From Apollo

     18.          PX 27     Rashid Separation Agreement (DRAFT)

     19.          PX 28     Executed Letter From Apollo Management
                            Holdings, L.P. To Rashid Re: Terms Of
                            Separation Agreement

     20.          PX 29     Email From Daniel Zelenko To Sipoura Barzideh
                            And Others Re: February/March 2011 Trip
                            Question

     21.          PX 30     Apollo Global Management Expense Review --
                            Preliminary Results (Sept. 13, 2013)

     22.          PX 31     Email From Andrew Ehrlich To Daniel Zelenko
                            Re: Common Interest Privilege And Updates
                            With SEC

     23.          PX 43     Email From Bliss To Dunayer Re : Erem Rashid's
                            Bliss 49 Transaction Receipt No. 20584049


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